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IN THE UNITED STATES DISTRICT COURT 05,,4}, `\“--\ §
FoR THE WESTERN DISTRICT oF TENNESSEE 19 § 53
EASTERN DIVISIoN , <>` ”

EMMANUEL S. TROTTER, )
)
Plaintiff, )
)
)

VS. ) No. 1-04-1075-T-An
)
)
SAMANTHA PHILLIPS, )
JAMES H. SMITH, M.D., and )
CORRECTIONAL MEDICAL )
SERVICES, INC., )
)
Defendants. )

 

ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

Plaintiff Emmanuel S. Trotter, an inmate at the Northwest Correctional Complex
(“NWCX”), filed a complaint,pro se, pursuant to 42 U.S.C. § 1983 alleging that Defendants
demonstrated a deliberate indifference to his serious medicals needs by delaying in arranging
and/or providing his prescribed medical care for a complete tear of his right Achilles tendon.
Plaintiff also asserts various state law claims. Defendants J ames H. Smith and Correctional
Medical Services (“CMS”) filed this motion for summary judgment Plaintiffresponded.

For the following reasons, Defendants’ motion is GRANTED.

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with Rule 58 and-'or,?$ (a) FRCP on j 9 d 3d § /O

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I. Facts

On May 1, 2003, Plaintiff ruptured his right Achilles tendon while playing basketball
at the Northwest Correctional Complex. Plaintiff asked for medical care and was taken to
Baptist Memorial Hospital in Union City, Tennessee on May 6, 2003. Dr. J ames H. Wolfe
performed a magnetic resonance imaging (“M.R.I.”) on Plaintiff’s right lower leg. The
M.R.I. showed a complete tear of Plaintiff's right Achilles tendon. Dr. James H. Smith, a
physician for CMS at NWCX, ordered Plaintiff to be sent to Nashville General Hospital to
treat his injury.l Plaintiff also told Dr. Smith of pain and numbness in his right hand. Dr.
Smith informed Plaintiff that he believed that his pain was caused by a ganglion cyst and
was urgent.

On May 7, 2003, Plaintiff was taken to Nashville General Hospital and was seen by
Dr. Mauro Giordani.2 Plaintiff was given the choice of surgery to repair his tendon;
however, he elected to enter non-operative treatment, Plaintiff was advised that even if the

prescribed treatment was executed properly, there would be a risk of poor healing, re-

 

l Pursuant to TDOC Policy # 113.12, a “[c]onsulation by a physician specialist or other
health professional, as Well as any prescribed treatment, shall be made available when it is
determined that an inmate requires specialty care beyond the training or expertise of the
institutional health care staff or institutional resources.”

2 At Nashville General Hospita], Plaintiff was supposed to be treated for both the
ganglionic cyst and the Achilles tendon, however, Plaintiff’ s Achilles tendon was the only issue
discussed Aff. of Emmanuel S. Trotter, at 2. Plaintiff complained of wrist discomfort on June
12, 2003, July 15, 2003, August 4, 2003, and August 9, 2003; however, in Plaintiff’s response
opposing summary j udgment, he admitted that he refused medical treatments related to his
ganglionic cyst. Plaintiff’ s Summary Judgment Response, at 6; Aff. of Emmanuel S. Trotter, at
2.

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rupture, and re-tear under a non-operative method of treatment, Plaintiff’s prescribed
treatment involved putting his leg in a cast and gradually changing his casts so that his foot
would be moved into the neutral position. The initial cast was to start at Plaintiff’s hip and
extend to his foot. After three weeks, or around May 28, 2003, the initial cast was to be
shortened below the knee. His foot Would then be pulled up to the neutral position for the
next six weeks.

On July 9, 2003, Plaintiff was taken to Nashville General Hcspital to have his initial
cast shortened. Plaintiff’ s cast was replaced by a short-leg plantar flexed cast. Plaintiff was
returned to NWCX with a medical order to return in three weeks for further treatment

Plaintiff's initial cast was on his leg for a total of nine weeks. Defendants state that
the delay was caused by a “delay in forwarding the appropriate paperwork to facilitate the
return specialist visit, which has resulted in the full cast staying on longer than originally
intended. This paperwork was forwarded on 6.17.03 and a request for urgent appointment
was included.” Letter from Samantha Phillips, Health Administrator, TDOC Northwest
Correctional Complex, June 26, 2003. A return visit to Nashville General Hospital was
ordered the next day, however, Plaintiff did not return until July 9, 2003. During this nine-
week period, Plaintiff complained to the clinic at NWCX of extreme pain, swelling, and
stiffness in his right knee and foot. Plaintiff also complained of difficulty holding his
crutches because of the pain caused by the ganglionic cyst in his wrist and he stated that he

fell due to the numbness in his hand.

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On July 22, 2003, Plaintiff complained of pain and swelling above and/or around the
right knee and a knot in his upper right thigh. Sarah Quintere, L.P.N. at NWCX, observed
that the area around Plaintiff`s right knee Was extremely painful to the touch and
recommended alternating applications of heat and ice packs.

On July 28, 2003, Plaintiff was called to the clinic at NWCX and Was reaSSeSSed by
Amanda Collins. Collins noted that Plaintiff had complained of a knot in his thigh since his
cast was shortened, he had tenderness in his upper leg and knee area. Collins also
recommended alternating heat and ice applications

On August 6, 2003, Plaintiff was returned to Nashville General Hospital. Plaintiff’ s
shortened leg`brace was removed and he was placed in a walker brace for a recommended
six weeks.

On August 22, 2003, Plaintiff returned to the clinic at NWCX and complained of pain
and swelling in the right knee. Plaintiff was prescribed Ibuprofen to reduce pain and
swelling. Plaintiff later complained that the Ibuprofen was ineffective and was switched to
Naproxen. The prescription stated that the medication was only to be taken with meals but
did not instruct Plaintiff as to how much or how often it should be taken. Plaintiff later
reported problems of severe abdominal pain, dizziness, and bloody bowel movements as a
result of taking Naproxen. Plaintiff was prescribed other medications to help with any side
effects that may have been caused by the Naproxen.

On August 29, 2003, Plaintiff signed an against medical advice document, Which

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stated that he refused to be transferred back to Deberry Special Needs Facility. He was
subsequently transferred back to Nashville General Hospital.

Plaintiff filed this suit claiming violation of his Eighth Amendment right to be free
from cruel and unusual punishment as well as various state law claims. Plaintiff states that
as a result of Defendants’ deliberate indifference to is medical needs, he has suffered
increased pain and suffering and new debilitating injuries to his right knee and foot. Aff.
of Emmanuel S. Trotter, at 3.

II. Summary Judgment Standard

Motions for summary judgment are governed by Fed. R. Civ. P. 56. If no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summary j udgment is appropriate Fed. R. Civ. P. 56(c). The moving party may support the
motion for summary judgment with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex §§orp. v. §§atrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e); see also Celotex §§orp., 477 U.S. at 323.

 

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs

position will be insufficient; there must be evidence on Which the j ury could reasonably find

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for the plaintiff.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). However,
the court’s function is not to weigh the evidence, judge credibility, or in any way determine
the truth of the matter but only to determine whether there is a genuine issue for trial. I_d. at
249. Rather, “[t]he inquiry on a summary judgment motion . . . is . . . ‘whether the evidence
presents a sufficient disagreement to require submission to a [trier of fact] or whether it is
so one-sided that one party must prevail as a matter oflaw. ”’ Street v. J.C. Bradford & Co.,
886 F.2d 1472, 1479 (6th Cir. 1989) (quoting Anderson, 477 U.S. at 251-52). Doubts as to
the existence of a genuine issue for trial are resolved against the moving party. Adickes v.
§. H. Kress & Co., 398 U.S. 144, 158-59 (1970).
III. Eighth Amendment Claim

Plaintiff claims that Defendants violated his Eighth Amendment right to be free from
cruel and unusual punishment because they acted with deliberate indifference to his serious
medical needs by intentionally causing a delay in the execution of his prescribed medical
treatment. Defendants argue that they are entitled to judgment as a matter of law because
they were not deliberately indifferent to Plaintiff’ s medical needs and that Plaintiff has failed
to establish that CMS’ policies or customs caused any deprivation

1. Deliberate Indifference

The Eighth Amendment prohibits cruel and unusual punishment See generally

Wilson v. Seiter, 501 U.S. 294 (1991). The Eighth Amendment proscription on cruel and

unusual punishment prohibits prison authorities from displaying deliberate indifference to

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the serious medical needs of prisoners, because such indifference constitutes the
"unnecessary and wanton infliction ofpain." Estelle v. Gamble, 429 U.S. 97, 104 (1976).
“[D]eliberate indifference to one’s needs for medical attention suffices for a claim under 42
U.S.C. § 1983.” Blackmore v. Kalamazoo Co., 390 F.3d 890, 895-86 (6th Cir. 2004). The
test to determine whether Defendants acted with “deliberate indifference” has an objective
and subjective component _S_e_e Brown v. Bargery, 207 F.3d 863, 867 (6th Cir. 2000).
The objective component requires an inmate to show that the alleged
deprivation is “sufficiently serious.” As the Supreme Court explained in
Farmer, “The inmate must show that he is incarcerated under conditions
posing a substantial risk of serious harrn.” To satisfy the subjective
component, an inmate must show that prison officials had “a sufficiently
culpable state of mind.”
ld_g (citing Farmer v. Brennan, 511 U.S. 825, 834 (1994)). “This subjective component
should be determined in light of the prison authorities’ current attitudes and conduct.
Deliberate indifference entails something more than mere negligence, but can be satisfied
by something less than acts or omissions for the very purpose of causing harm or with
knowledge that harm will result.” Blackmore, 390 F.3d at 896~97 (citations omitted); _se_e
Helling v. McKinney, 509 U.S. 25, 36 (1993); Farmer, 511 U.S. at 835, 837. “Knowledge
of the asserted serious needs or of circumstances clearly indicating the existence of such

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needs, is essential to a finding of deliberate indifference Hom v. Madison Co. Fiscal

Court, 22 F.3d 653, 660 (6th Cir. 1994).

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a. “Sufficiently serious” medical need

In the present case, Plaintiff has failed to demonstrate that the alleged deprivation was
sufficiently serious. Plaintiff admits that he received treatment for his torn Achilles tendon,
thus, he has failed to allege that he Was deprived of medical care. Within one week of his
injury, Plaintiff was seen by the clinic at NWCX, referred to an off-site specialist to treat his
injury, and had an M.R.I. taken of his right leg. Plaintiff was given the option of surgery or
a non-operational method to heal his injury and chose the non-operative method while fully
aware of potential complications Further, Plaintiff presented evidence that complications
related to his treatment were addressed by the clinic at NWCX. He was given medications
and was advised to apply heat and ice packs to reduce swelling and he was allowed to use
the handicap showers. Finally, Plaintiff refused certain medical services. As a result,
Plaintiff fails to satisfy the objective component because he did not suffer from a serious
medical need.

b. “Sufficiently culpable state of mind”

Plaintiff has also failed to demonstrate that Defendants had a sufficiently culpable
state of mind. Plaintiff received medical care for his torn Achilles tendon and, while he may
be dissatisfied with the quality of care that he received, the treatment provided by
Defendants did not fall below the applicable standard of care. Although Defendants did
delay in ordering Plaintiff to return to Nashville General Hospital to have his initial cast

removed, Plaintiff has failed to present any evidence that Defendant was more than merely

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negligent This is a case in which Plaintiff merely disagrees with the treatment which he
received. Such disagreement between Plaintiff and a medical practitioner as to the level of
care required generally is insufficient to establish the deliberate indifference required for an
Eighth Amendment violationl M Estelle v. Gamble, 429 U.S. 97, 107 (1976).

Where a prisoner has received some medical attention and the dispute is over

the adequacy of the treatment, federal courts are generally reluctant to second

guess medical judgments and to constitutionalize claims which sound in state

tort law.

Westlake v. Lucas, 537 F.2d 857, 860 n.5 (6th Cir. 1976). As such, Plaintiff has not satisfied

the subjective component of the Farmer test.

 

2. Defendant’s Liability

A municipal defendant cannot be held liable under § 1983 on the basis of respondeat
superior There must be a showing that the constitutional violation stems from the
enforcement of a governmental policy or custom. Monell v. Department of Soc. Serv., 436
U.S. 658, 691 & 694 (1978). Thus, a local governmental entity, such as a city or a county,
“is not vicariously liable under § 1983 for the unconstitutional conduct of its agents: lt is
only liable when it can be fairly said that the city itself is the wrongdoer.” §§ollins v. City
of Harker Heights. Tex., 503 U.S. 115, 122 (1992). This requires a showing that “through
its deliberate conduct, the municipality Was the ‘moving force’ behind the injury alleged.”
Board ofCou'ntv Comm’rs v. Brown, 520 U.S. 397, 404 (1997).

In the present case, Plaintiff fails to demonstrate that a CMS policy deprived him of

his constitutional rights. In his “motion” opposing summary judgment, Plaintiff states that

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pursuant to TDOC 113.04 § VI(c)(l)-(Z), approval for specialty consultations must be
obtained from the health services contractor according to their guidelines3 In addition,
Plaintiff submits as evidence various job descriptions of CMS personnel to establish that it
is within their job duties to respond timely to outpatient issues. l-Iowever, Plaintiff’s
arguments fail because the policies and procedures that he references were not the “movin g
force” behind his alleged injury. ln contrast, these policies were put in place to secure
Plaintiff’ s right to receive medical care while incarcerated Plaintiff also fails to argue that
any custom ofCMS personnel caused his alleged constitutional deprivation Consequently,
Plaintiff has failed to establish that a CMS policy or custom violated his Eighth Amendment
right to be free from cruel and unusual punishment

Because Plaintiff has failed to establish that Defendants’ conduct met the deliberate
indifference standard or that a CMS policy or custom caused his alleged deprivation,
Defendants are entitled to judgment as a matter of law as to Plaintiff’ s Eighth Amendment
claim.

IV. State Law Claims

Plaintiff asserts state law claims of medical malpractice/battery, intentional infliction
of emotional distress, negligent infliction of emotional distress, gross negligence, and
negligence Under certain circumstances, a federal district court may decline supplemental

jurisdiction over a state law claim even if jurisdiction would otherwise be proper. Pursuant

 

3 While Plaintiff cites TDOC 113.04 § Vl(c)(l)-(2) and includes TDOC 113.04 as
evidence, he has omitted § VI(c)(l)-(Z).

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to 28 U.S.C. § 1367(c):

The district courts may decline supplemental jurisdiction over a claim under

subsection (a) if-

(3) the district court has dismissed all claims over which it
has original jurisdiction,....
§ l367(c)(3). As summary judgment has been granted in favor of Defendants on Plaintiff’ s
§ 1983 claim, the court declines to accept supplemental jurisdiction over Plaintiff" s state law
claims.
V. Conclusion

For the foregoing reasons, Defendants J ames H. Smith and CMS are entitled to

judgment as a matter of law on Plaintiff's Eighth Amendment claim. ln addition, Plaintiff’s

state law claims are dismissed pursuant to 28 U.S.C. § 1367(0)(3).

lT IS SO ORDERED.

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JA D. TODD
ED STATES DISTRICT .TUDGE

3 /WM MS/

DATE /

 

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E§SEE

 

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